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            UNITED STATES COURT OJ' APPEALS FOR THE FEDERAL CmCillT


                                     INFORMATION SHEET


                      FILING A PETITION FOR A WRIT OF CERTIORARI



There is no automatic right of appeal to the Supreme Court of the United States from judgments
of the Federal Circuit. You must file a petition for a writ of certiorari which the Supreme Court
will grant only when there are compelling reasons. (See Rule 10 of the Rules of the Supreme
Court of the United States, hereinafter called Rules.)

Time. The petition must be filed in the Supreme Court of the United States within 90 days of
the entry ofjudgment in this Court or within 90 days of the denial ofa timely petition for
rehearing. The judgment is entered on the day the Federal Circuit issues a final decision in your
case. [The time does not run from the issuance of the mandate, which has no effect on the right
to petition.] (See Rule 13 of the Rules.)

Fees. Either the $300 docketing fee or a motion for leave to proceed in forma pauperis with an
affidavit in support thereof must accompany the petition. (See Rules 38 and 39.)

Authorized Filer. The petition must be filed by a member of the bar of the Supreme Court of
the United States or by the petitioner representing himself or herself.

Format of a Petition. The Rules are very specific about the order of the required information
and should be consulted before you start drafting your petition. (See Rule 14.) Rules 33 and 34
should be consulted regarding type size and font, paper size, paper weight, margins, page limits,
cover, etc.

Number of Copies. Forty copies of a petition must be filed unless the petitioner is proceeding in
forma pauperis, in which case an original and ten copies of the petition for writ of certiorari and
of the motion for leave to proceed in forma pauperis. (See Rule 12.)

Where to File. You must file your documents at the Supreme Court.

                                           Clerk
                              Supreme Court of the United States
                                     1 First Street, NE
                                   Wasbington, DC 20543
                                       (202) 479-3000

No documents are filed at the Federal Circuit and the Federal Circuit provides no information to
the Supreme Court unless the Supreme Court asks for the information.

Access to the Rules. The current rules can be found in Title 28 of the United States Code
Annotated and other legal publications available in many public libraries.


Revised December J 6, 1999
